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lTl-* 3F'SIfSS' oNs                                                                            W u:h
MCF-RC Office Memorandum
  Date: August L6,2Ot9                                                                                          RECEIVED
                                                                                                                 BY [\4AIL
 To:         Marc BAKAMBIA                                                  /Seg Tier 1, Cell 1103
                                                                                                                 m18W2l
  From: Warden Janssen,
                                                                                                                     CLERK

  RE: Grievance - Refer to Pol                             Chain of Command on back side of
 The grievance you submitted will not be entered as a formal grievance for the reason(s) listed below:

                  You must file your grievance within 30 calendar days from the date the incident occurred.

                  You exceeded the number of pages allowed to file a grievance. No more than the grievance form and one
                  side of an additional8-L/2 x L1 piece of paper may be used to state your grievance.

                  You did not attach copies of ALL kite responses you received in the Chain of Command. You must write
                  to one person at a time and wait one week or untilyou have received a response from that person
                  before writing to the next staff. Once all kite responses have been received, you can forward those with
                  the grievance to me.

                  You indicated that you verbally spoke with staff. This is not proof that you tried to resolve the issue
                  informally. You need to write kites following the Chain of Command. lnclude copies of staffs response
                  with your grievance.

                  You did not fill out the appropriate form. You need to submit your issue on a pink Grievance form.

                  You can only list one issue per grievance.

                  This is not an issue you can grieve. This issue already has an appeal process in place that you must follow.
                  Decisions from that appeal process are final and cannot be grieved through this process.

                  This is a DOC-wide policy. DOC policies cannot be grieved.

                  Your grievance is not clear to me. Please be more concise regarding what your issue is and what you are
                  sbeking foi d resolution. List in one or two paragraphs your issue, and then in a sentence or two, what
              '
                  you seek for resolution.

                  You are seeking staff terminatiori or discipline. This is not an acceptable request for resolution.

                  You have already grieved this issue. Once the grievance authority has responded, you can appqal the
                  decision through the grievance appeal authority at the MN DOC Central Office.

      X           Other. Please see below comments.
                                                                                                               FEB 1 6 202
Additional comments: Matters involvins discipline do not fall under the grievance policv.
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                                                                                                         U.S. DlSfFiiCT Co'JRT




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Contributing to a Sofer Minnesota                                                                                303.100E (04/21t8l
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                                    Minnesota Department of Corrections
                                            Offender Grievance

                                                                                      x(sl tcl
Offender: lq aLc B6Errlrilr'+                    orD: Jq r gq q   Living UniUCell/Room#:
                                                                                             4L/lla 3
Casemanager:     h\, Re ilc ec+ e PrC-kSoA
Instuction to offender - You may add one 8Yz X I I inch sheet of paper to expand your grievance
information. You must attach kites, including staffresponse, showing your attempt to resolve the issue
informally and one copy of all supporting exhibits for this grievance. Your grievance will be retunred if
you do not attach kites.




Dist. Oiginal - Facility Grievance Coordinator                     Date entered
        Copy- Offender                                             Grievance number

                                                                                         303.1008 Gn00D)
